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WILLIAM EARL HILTON

Sheriff and Tax Collector ~ Rapides Parish

 

November 29, 2018

Deputy Jerry McKinney
Rapides Parish Sheriff's Office
Post Office Box 1510
Alexandria, LA 71309

Dear Deputy McKinney,

In response to the letter by Dr. Hajmurad stating you can only work 8 hours a day in an
administrative setting is not your job description. Your job description is working a 12 hour shift
with offenders and if you cannot do this, my suggestion is to retire.

Sincerely,

 

701 Murray Street | Post Office Box 1510 ! Alexandria, Louisiana 71309
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